        Case 1:20-mj-00175-RMM Document 14 Filed 10/30/20 Page 1 of 11

                                                       U.S. Department of Justice

                                                       Michael R. Sherwin
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530




                                                       September 29, 2020

BY EMAIL

Michelle Peterson
First Assistant Federal Public Defender
Federal Public Defender for the District of Columbia
625 Indiana Ave., N.W., Suite 550
Washington, D.C. 20004
Shelli_Peterson@fd.org

               Re:    United States v. Amina Washington-Bey
                      Case Nos. 1:20-mj-056, 1:20-mj-059, 1:20-mj-063, and 1:20-mj-175

Dear Ms. Peterson:

       This letter sets forth the full and complete plea offer to your client, Amina Washington-
Bey (hereinafter referred to as “your client” or “defendant”), from the Office of the United States
Attorney for the District of Columbia (hereinafter also referred to as “the Government” or “this
Office”). This plea offer expires on October 31, 2020. If your client accepts the terms and
conditions of this offer, please have your client execute this document in the space provided
below. Upon receipt of the executed document, this letter will become the Plea Agreement
(hereinafter referred to as “this Agreement”). The terms of the offer are as follows:

       1.      Charges and Statutory Penalties

         Your client agrees to plead guilty to to Count I of the criminal Information filed on May
29, 2020, in Case No. 1:20-mj-056 (ECF No. 11), charging your client with knowingly entering
and remaining, and attempting to enter and remain, in a restricted building and grounds, in
violation of 18 U.S.C. § 1752(a)(1); to Count I of a superseding criminal Information that will be
filed in Case No. 1:20-mj-063 (a copy of which is attached to this Agreement), charging your
client with contempt for knowingly violating valid court orders issued in Federal case numbers
1:20-mj-0056 and 1:20-mj-0059 by failing to comply with his conditions of his release as set
forth in the Orders Setting Conditions of Release that were filed on April 13, 2020 (Case No.
1:20-mj-056 (ECF No. 5) and Case No. 1:20-mj-059 (ECF No. 2)), in violation of 18 U.S.C. §
401(3); and to Count I of the criminal Information to be be filed in Case No. 1:20-mj-175 (a


                                           Page 1 of 11
        Case 1:20-mj-00175-RMM Document 14 Filed 10/30/20 Page 2 of 11




copy of which is attached to this Agreement), charging your client with contempt for knowingly
violating valid court orders issued in Federal case numbers 1:20-mj-0056, 1:20-mj-0059, and
1:20-mj-063 by failing to comply with his conditions of his release as set forth in the Orders
Setting Conditions of Release that were filed on April 13, 2020 (Case No. 1:20-mj-056 (ECF No.
5)), filed on April 13, 2020 (Case No. 1:20-mj-059 (ECF No. 2)), and filed on May 15, 2020
(Case No. 1:20-mj-063 (ECF No. 8)), in violation of 18 U.S.C. § 401(3).

         Your client understands that a violation of 18 U.S.C. § 1752(a)(1) carries a maximum
sentence of not more than one year of imprisonment, a fine of not more than $100,000, pursuant
to 18 U.S.C. § 3571(b)(5); a term of supervised release of not more than one year, pursuant to 18
U.S.C. § 3583(b)(3); and an obligation to pay any applicable interest or penalties on fines and
restitution not timely made. Your client understands that a violation of 18 U.S.C. § 401(3) may
result in an unspecified fine, an unspecified term of imprisonment, or both, based on the Court’s
discretion, as well as an obligation to pay any applicable interest or penalties on fines and
restitution not timely made. Your client also understands and acknowledges that, in this specific
instance, the Government, through a superseding Information in Case No. 1:20-mj-063 and an
Information in Case No. 1:20-mj-175, will charge the contempt violations to which he will be
pleading guilty as Class C misdemeanors, which carry a maximum sentence of not more than 30
days imprisonment; a fine of no more than $5,000; and an obligation to pay any applicable
interest or penalties on fines and restitution not timely made.

        In addition, your client agrees to pay a special assessment of $25 per misdemeanor
conviction to the Clerk of the United States District Court for the District of Columbia. Your
client also understands that, pursuant to 18 U.S.C. § 3572 and § 5E1.2 of the United States
Sentencing Commission, Guidelines Manual (2018) (hereinafter “Sentencing Guidelines,”
“Guidelines,” or “U.S.S.G.”), the Court may also impose a fine that is sufficient to pay the
federal government the costs of any imprisonment, term of supervised release, and period of
probation. Further, your client understands that, if your client has two or more convictions for a
crime of violence or felony drug offense, your client may be subject to the substantially higher
penalties provided for in the career-offender statutes and provisions of the Sentencing
Guidelines.

       2.      Factual Stipulations

        Your client agrees that the attached “Statement of Offense” fairly and accurately
describes your client’s actions and involvement in the offense(s) to which your client is pleading
guilty. Please have your client sign and return the Statement of Offense as a written proffer of
evidence, along with this Agreement.

       3.      Additional Charges

        In consideration of your client’s guilty plea to the above offense(s), your client will not
be further prosecuted criminally by this Office for the conduct set forth in the attached Statement
of Offense. The Government will request that the Court dismiss the remaining count(s) of the
Informations in all four cases, case numbers 1:20-mj-056, 1:20-mj-059, 1:20-mj-063, and



                                           Page 2 of 11
        Case 1:20-mj-00175-RMM Document 14 Filed 10/30/20 Page 3 of 11




1:20-mj-175, at the time of sentencing. Your client agrees and acknowledges that the charge(s)
to be dismissed at the time of sentencing were based in fact.

       4.      Sentencing Guidelines Analysis

         Your client understands that the sentence in this case will be determined by the Court,
pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the
Sentencing Guidelines. Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B), and to
assist the Court in determining the appropriate sentence, the parties agree to the following:

               A.      Estimated Offense Level Under the Guidelines

       The parties agree that the following Sentencing Guidelines sections apply:

Count I: Violation of 18 U.S.C. § 1752(a)(1)

       U.S.S.G. § 2B2.3(a)            Base Offense Level                          4
       U.S.S.G. § 2B2.3(b)(1)(B)      White House or its Grounds                  4
                                                                      _______________
                                                                      Total       8

         Although the United States Sentencing Commission, Guidelines Manual (2018) does
apply to the offense under 18 U.S.C. §401(3) identified in paragraph 1 above, the Commission
has not provided a specific guideline for the offense. See U.S.S.G. § 2J1.1 (Contempt). Instead,
it directs that U.S.S.G. § 2X5.1 be applied. U.S.S.G. § 2X5.1, however applies to “other felony
offenses,” and here the Government has asked the Court to treat the contempt charges as a
Class C misdemeanor. If the Government’s request is granted, the offense would not be a felony
one, thus rendering U.S.S.G. § 2X5.1 inapplicable.

       Acceptance of Responsibility

        The Government agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E1.1, provided that your client clearly demonstrates acceptance of responsibility, to the
satisfaction of the Government, through your client’s allocution, adherence to every provision of
this Agreement, and conduct between entry of the plea and imposition of sentence.

        Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, and/or imposition of
an adjustment for obstruction of justice, pursuant to U.S.S.G. § 3C1.1, regardless of any
agreement set forth above, should your client move to withdraw your client’s guilty plea after it
is entered, or should it be determined by the Government that your client has either (a) engaged
in conduct, unknown to the Government at the time of the signing of this Agreement, that
constitutes obstruction of justice, or (b) engaged in additional criminal conduct after signing this
Agreement.

       In accordance with the above, the Estimated Offense Level will be at least 6.

                                            Page 3 of 11
          Case 1:20-mj-00175-RMM Document 14 Filed 10/30/20 Page 4 of 11




                  B.       Estimated Criminal History Category

        Based upon the information now available to this Office, including the Presentence
Investigation Report for Case Number 1:18-mj-00062, your client has at least the following
criminal convictions:

Date              Number                      Conviction          Sentence                                     Points
02/21/2019        18-mj-00062                 Unlawful Entry      Time Served                                  2
08/03/2017        2016CF2020407               Prison Breach       12 months incarceration                      2 + 21
12/09/2016        2016CMD018985               Contempt            60 days incarceration                        2
01/12/2016        2015CMD016607               CDW (Attempt)       90 days incarceration                        2
11/23/2015        2015CF2006713               Prison Breach       Time served                                  2
05/06/2015        2014CMD021054               Unlawful Entry      10 days incarceration                        1
05/06/2015        2014CMD020419               Unlawful Entry      1 day incarceration                          1
05/06/2015        2013CDC020321               Indecent Exposure   30 days incarceration                        1
05/06/2015        2013CMD013838               PPW(b)/SA           60 days incarceration                        2
02/10/2012        2011CF2004464               DP            6 months incarceration, suspended                  1

        Accordingly, your client is estimated to have 18 criminal history points and your client’s
Criminal History Category is estimated to be VI (the “Estimated Criminal History Category”).
Your client acknowledges that after the pre-sentence investigation by the United States Probation
Office in this matter, a different conclusion regarding your client’s criminal convictions and/or
criminal history points may be reached and your client’s criminal history points may increase or
decrease.

                  C.       Estimated Guidelines Range

        Based upon the Estimated Offense Level and the Estimated Criminal History Category
set forth above, your client’s estimated Sentencing Guidelines range is 12 months to 18 months
(the “Estimated Guidelines Range”) for the violation of 18 U.S.C. § 1752(a). In addition, the
parties agree that, pursuant to U.S.S.G. § 5E1.2, should the Court impose a fine, at Guidelines
level 6, the estimated applicable fine range is $1,000 to $9,500. Your client reserves the right to
ask the Court not to impose any applicable fine.

        The parties further agree that a sentence up to, and including, 30 days of imprisonment
for the violation of 18 U.S.C. § 401(3) would constitute a reasonable sentence in light of the fact
that the government has charged the offence as a Class C misdemeanor and all of the factors set
forth in 18 U.S.C. § 3553(a), should such a sentence be subject to appellate review
notwithstanding the appeal waiver provided below. Nevertheless, your client reserves the right
to seek a sentence below the six-month ceiling based upon factors to be considered in imposing a
sentence pursuant to 18 U.S.C. § 3553(a).



1 As your client was on supervised release for this charge at the time of the instant offenses, per the guidelines an
additional two points should be added to his criminal history score.

                                                    Page 4 of 11
        Case 1:20-mj-00175-RMM Document 14 Filed 10/30/20 Page 5 of 11




        The parties agree that, solely for the purposes of calculating the applicable range under
the Sentencing Guidelines, neither a downward nor upward departure from the Estimated
Guidelines Range set forth above is warranted. Except as provided for in the “Reservation of
Allocution” section below, the parties also agree that neither party will seek any offense-level
calculation different from the Estimated Offense Level calculated above in subsection A.
However, the parties are free to argue for a Criminal History Category different from that
estimated above in subsection B.

        Your client understands and acknowledges that the Estimated Guidelines Range
calculated above is not binding on the Probation Office or the Court. Should the Court or
Probation Office determine that a guidelines range different from the Estimated Guidelines
Range is applicable, that will not be a basis for withdrawal or recission of this Agreement by
either party.

        Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would form the basis for an increase in your
client’s base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the
Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct.

       5.      Agreement as to Sentencing Allocution

        The parties further agree that a sentence within the Estimated Guidelines Range would
constitute a reasonable sentence in light of all of the factors set forth in 18 U.S.C. § 3553(a),
should such a sentence be subject to appellate review notwithstanding the appeal waiver
provided below. Nevertheless, your client reserves the right to seek a sentence below the
Estimated Guidelines Range based upon factors to be considered in imposing a sentence
pursuant to 18 U.S.C. § 3553(a). Both parties reserve the right to allocute for an appropriate
length of probation based upon factors to be considered in imposing a sentence pursuant to 18
U.S.C. § 3553(a).

       In addition, the defendant agrees not to oppose the following additional conditions on any
period of supervised release or probation:

            a. the defendant will stay away from the area around the White House that is
               bounded by, and including, K Street, NW; 13th Street, NW; Pennsylvania
               Avenue, NW; 12th Street, NW; Constitution Avenue, NW; and 19th Street, NW.
               A map of the stay away area is attached;

            b. the defendant will also avoid physical or online contact with any facilities, sites,
               or persons under the permanent or temporary protection of the Secret Service,
               except to petition in writing the President, Vice President, or other protected
               person for the purpose of political discourse;

                                            Page 5 of 11
        Case 1:20-mj-00175-RMM Document 14 Filed 10/30/20 Page 6 of 11




            c. the defendant will participate in and receive mental health treatment; comply with
               any terms of treatment established by the Court or medical and/or mental health
               professionals, including, but not limited to, any medication regimen established
               by medical and/or mental health professionals, including signing any release
               forms to allow the U.S. Probation Office to ensure compliance with his terms of
               release; and

            d. the defendant will assist and cooperate fully in any and all U.S. Secret Service
               (USSS) efforts to monitor, investigate, and/or assess the defendant in relation to
               the USSS’s protective responsibilities, including by submitting to an interview
               with USSS Special Agents and Uniformed Division Officers immediately
               following sentencing and signing release forms to allow the agency access to any
               of his medical and/or mental health records for the purpose of facilitating the
               work of the U.S. Secret Service in carrying out its protective responsibilities
               pursuant to 18 USC §3056.

       6.      Reservation of Allocution

         The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct,
including any misconduct not described in the charges to which your client is pleading guilty, to
inform the presentence report writer and the Court of any relevant facts, to dispute any factual
inaccuracies in the presentence report, and to contest any matters not provided for in this
Agreement. The parties also reserve the right to address the correctness of any Sentencing
Guidelines calculations determined by the presentence report writer or the court, even if those
calculations differ from the Estimated Guidelines Range calculated herein. In the event that the
Court or the presentence report writer considers any Sentencing Guidelines adjustments,
departures, or calculations different from those agreed to and/or estimated in this Agreement, or
contemplates a sentence outside the Guidelines range based upon the general sentencing factors
listed in 18 U.S.C. § 3553(a), the parties reserve the right to answer any related inquiries from
the Court or the presentence report writer and to allocute for a sentence within the Guidelines
range, as ultimately determined by the Court, even if the Guidelines range ultimately determined
by the Court is different from the Estimated Guidelines Range calculated herein.

        In addition, if in this Agreement the parties have agreed to recommend or refrain from
recommending to the Court a particular resolution of any sentencing issue, the parties reserve the
right to full allocution in any post-sentence litigation. The parties retain the full right of
allocution in connection with any post-sentence motion which may be filed in this matter and/or
any proceeding(s) before the Bureau of Prisons. In addition, your client acknowledges that the
Government is not obligated and does not intend to file any post-sentence downward departure
motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.




                                           Page 6 of 11
        Case 1:20-mj-00175-RMM Document 14 Filed 10/30/20 Page 7 of 11




       7.      Court Not Bound by this Agreement or the Sentencing Guidelines

       Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Court.
Your client acknowledges that the Court is not obligated to follow any recommendation of the
Government at the time of sentencing. Your client understands that neither the Government’s
recommendation nor the Sentencing Guidelines are binding on the Court.

        Your client acknowledges that your client’s entry of a guilty plea to the charged
offense(s) authorizes the Court to impose any sentence, up to and including the statutory
maximum sentence, which may be greater than the applicable Guidelines range. The
Government cannot, and does not, make any promise or representation as to what sentence your
client will receive. Moreover, it is understood that your client will have no right to withdraw
your client’s plea of guilty should the Court impose a sentence that is outside the Guidelines
range or if the Court does not follow the Government’s sentencing recommendation. The
Government and your client will be bound by this Agreement, regardless of the sentence
imposed by the Court. Any effort by your client to withdraw the guilty plea because of the
length of the sentence shall constitute a breach of this Agreement.

       8.      Conditions of Release

        Your client acknowledges that, although the Government will not seek a change in your
client’s release conditions pending sentencing, the final decision regarding your client’s bond
status or detention will be made by the Court at the time of your client’s plea of guilty. The
Government may move to change your client’s conditions of release, including requesting that
your client be detained pending sentencing, if your client engages in further criminal conduct
prior to sentencing or if the Government obtains information that it did not possess at the time of
your client’s plea of guilty and that is relevant to whether your client is likely to flee or pose a
danger to any person or the community. Your client also agrees that any violation of your
client’s release conditions or any misconduct by your client may result in the Government filing
an ex parte motion with the Court requesting that a bench warrant be issued for your client’s
arrest and that your client be detained without bond while pending sentencing in your client’s
case.

       9.      Waivers

               A.      Statute of Limitations

        Your client agrees that, should the conviction following your client’s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Statement of Offense, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement (including any counts that the
Government has agreed not to prosecute or to dismiss at sentencing pursuant to this Agreement)
may be commenced or reinstated against your client, notwithstanding the expiration of the statute
of limitations between the signing of this Agreement and the commencement or reinstatement of

                                           Page 7 of 11
        Case 1:20-mj-00175-RMM Document 14 Filed 10/30/20 Page 8 of 11




such prosecution. It is the intent of this Agreement to waive all defenses based on the statute of
limitations with respect to any prosecution of conduct set forth in the attached Statement of
Offense that is not time-barred on the date that this Agreement is signed.

               B.      Trial Rights

         Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forego the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,
among other rights, the right to plead not guilty, and the right to a jury trial. If there were a jury
trial, your client would have the right to be represented by counsel, to confront and cross-
examine witnesses against your client, to challenge the admissibility of evidence offered against
your client, to compel witnesses to appear for the purpose of testifying and presenting other
evidence on your client’s behalf, and to choose whether to testify. If there were a jury trial and
your client chose not to testify at that trial, your client would have the right to have the jury
instructed that your client’s failure to testify could not be held against your client. Your client
would further have the right to have the jury instructed that your client is presumed innocent
until proven guilty, and that the burden would be on the United States to prove your client’s guilt
beyond a reasonable doubt. If your client were found guilty after a trial, your client would have
the right to appeal your client’s conviction. Your client understands that the Fifth Amendment to
the Constitution of the United States protects your client from the use of self-incriminating
statements in a criminal prosecution. By entering a plea of guilty, your client knowingly and
voluntarily waives or gives up your client’s right against self-incrimination.

        Your client acknowledges discussing with you Rule 11(f) of the Federal Rules of
Criminal Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the
admissibility of statements made by a defendant in the course of plea discussions or plea
proceedings if a guilty plea is later withdrawn. Your client knowingly and voluntarily waives the
rights that arise under these rules in the event your client withdraws your client’s guilty plea or
withdraws from this Agreement after signing it.

        Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the plea of guilty pursuant to this Agreement will be entered at a time
decided upon by the parties with the concurrence of the Court. Your client understands that the
date for sentencing will be set by the Court.

               C.      Appeal Rights

        Your client agrees to waive, insofar as such waiver is permitted by law, the right to
appeal the conviction in this case on any basis, including but not limited to claim(s) that (1) the
statute(s) to which your client is pleading guilty is unconstitutional, and (2) the admitted conduct
does not fall within the scope of the statute(s). Your client understands that federal law,
specifically 18 U.S.C. § 3742, affords defendants the right to appeal their sentences in certain
circumstances. Your client also agrees to waive the right to appeal the sentence in this case,
including but not limited to any term of imprisonment, fine, forfeiture, award of restitution, term

                                            Page 8 of 11
        Case 1:20-mj-00175-RMM Document 14 Filed 10/30/20 Page 9 of 11




or condition of supervised release, authority of the Court to set conditions of release, and the
manner in which the sentence was determined, except to the extent the Court sentences your
client above the statutory maximum or guidelines range determined by the Court. In agreeing to
this waiver, your client is aware that your client’s sentence has yet to be determined by the
Court. Realizing the uncertainty in estimating what sentence the Court ultimately will impose,
your client knowingly and willingly waives your client’s right to appeal the sentence, to the
extent noted above, in exchange for the concessions made by the Government in this Agreement.
Notwithstanding the above agreement to waive the right to appeal the conviction and sentence,
your client retains the right to appeal on the basis of ineffective assistance of counsel, but not to
raise on appeal other issues regarding the conviction or sentence.

               D.      Collateral Attack

        Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought
under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel. Your client reserves the right to file a motion brought under 18 U.S.C.
§ 3582(c)(2), but agrees to waive the right to appeal the denial of such a motion.

       10.     Breach of Agreement

        Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client’s obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will
have breached this Agreement. In the event of such a breach: (a) the Government will be free
from its obligations under this Agreement; (b) your client will not have the right to withdraw the
guilty plea; (c) your client will be fully subject to criminal prosecution for any other crimes,
including perjury and obstruction of justice; and (d) the Government will be free to use against
your client, directly and indirectly, in any criminal or civil proceeding, all statements made by
your client and any of the information or materials provided by your client, including such
statements, information and materials provided pursuant to this Agreement or during the course
of any debriefings conducted in anticipation of, or after entry of, this Agreement, whether or not
the debriefings were previously characterized as “off-the-record” debriefings, and including your
client’s statements made during proceedings before the Court pursuant to Rule 11 of the Federal
Rules of Criminal Procedure.

       Your client understands and agrees that the Government shall be required to prove a
breach of this Agreement only by a preponderance of the evidence, except where such breach is
based on a violation of federal, state, or local criminal law, which the Government need prove
only by probable cause in order to establish a breach of this Agreement.

       Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstruct justice, or to protect your client from
prosecution for any crimes not included within this Agreement or committed by your client after

                                            Page 9 of 11
        Case 1:20-mj-00175-RMM Document 14 Filed 10/30/20 Page 10 of 11




the execution of this Agreement. Your client understands and agrees that the Government
reserves the right to prosecute your client for any such offenses. Your client further understands
that any perjury, false statements or declarations, or obstruction of justice relating to your client’s
obligations under this Agreement shall constitute a breach of this Agreement. In the event of
such a breach, your client will not be allowed to withdraw your client’s guilty plea.

       11.     Complete Agreement

        No agreements, promises, understandings, or representations have been made by the
parties or their counsel other than those contained in writing herein, nor will any such
agreements, promises, understandings, or representations be made unless committed to writing
and signed by your client, defense counsel, and an Assistant United States Attorney for the
District of Columbia.

        Your client further understands that this Agreement is binding only upon the Criminal
and Superior Court Divisions of the United States Attorney’s Office for the District of Columbia.
This Agreement does not bind the Civil Division of this Office or any other United States
Attorney’s Office, nor does it bind any other state, local, or federal prosecutor. It also does not
bar or compromise any civil, tax, or administrative claim pending or that may be made against
your client.

       If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement of Offense, and returning both to me no later than
October 31, 2020.

                                                       Sincerely yours,

                                                       /s/ Michael R. Sherwin mm/nh
                                                       Michael R. Sherwin
                                                       Acting United States Attorney



                                               By:     ____________________________
                                                       NICOLE S. HUTCHINSON
                                                       Special Assistant United States Attorney
                                                       California Bar No. 281524
                                                       United States Attorney’s Office
                                                       555 4th Street NW, 11th Floor
                                                       Washington, D.C. 20530
                                                       Nicole.Hutchinson@usdoj.gov
                                                       (202) 803-1670




                                            Page 10 of 11
        Case 1:20-mj-00175-RMM Document 14 Filed 10/30/20 Page 11 of 11




                                DEFENDANT'S ACCEPTANCE

        I have read every page of this Agreement and have discussed it with my attorney,
Michelle Peterson. I fully understand this Agreement and agree to it without reservation. I do
this voluntarily and of my own free will, intending to be legally bound. No threats have been
made to me nor am I under the influence of anything that could impede my ability to understand
this Agreement fully. I am pleading guilty because I am in fact guilty of the offense(s) identified
in this Agreement.

        I reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth
in this Agreement. I am satisfied with the legal services provided by my attorney in connection
with this Agreement and matters related to it.



Date: I 0— 7-7- 67-                          a1/4•.M4,. r\lTh C1a1.--11
                                                                /4    60,lel-,--' AA1
                                             Amina Washingto -Bey
                                             Defendant



                            ATTORNEY'S ACKNOWLEDGMENT

        I have read every page of this Agreement, reviewed this Agreement with my client,
Amina Washington-Bey, and fully discussed the provisions of this Agreement with my client.
These pages accurately and completely set forth the entire Agreement. I concur in my client's
desire to plead guilty as set forth in this Agreement.




Date:     10/20/2020
                                             Michelle Peterson
                                             Attorney for Defendant




                                          Page 11 of 11
